            Case 23-01001 Document 6 Filed in TXSB on 02/17/23 Page 1 of 2
                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                     February 17, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk
                                  BROWNSVILLE DIVISION

IN RE:                                        §
                                              §       CASE NO: 23-10006
JODY SEAN MCINTYRE,                           §
                                              §       CHAPTER 11
           Debtor.                            §
                                              §
JODY SEAN MCINTYRE                            §
and                                           §
CASTINE MCILHARGEY,                           §
                                              §
           Plaintiffs,                        §
                                              §
VS.                                           §       ADVERSARY NO. 23-1001
                                              §
ERIK M. HAGER                                 §
and                                           §
JASON RIOS                                    §
and                                           §
EDUARDO PENA                                  §
and                                           §
JOANNA PENA                                   §
and                                           §
SOUTH PADRE TOWING AND                        §
RECOVERY                                      §
and                                           §
SOUTH PADRE CAPITAL RESERVE,                  §
LLC,                                          §
                                              §
           Defendants.                        §

                                          ORDER
                                     Regarding ECF No. 1

      On February 9, 2023, Jody Sean McIntyre (“Debtor”) filed his “notice of removal”1 that
removed a civil action pending in the 107th District Court of Cameron County, Texas (cause No.
2020-DCL-03294) to this Court. However, Debtor’s notice of removal does not adhere to
Bankruptcy Local Rule 9027-1(b) which provides that, “[t]he notice of removal must be
accompanied by copies of all papers that have been filed in the court from which the case is
removed.”2 Debtor makes reference to and provides a picture of an unidentified “compact disc”

1
    ECF No. 1.
2
    BLR 9027-1(b).
             Case 23-01001 Document 6 Filed in TXSB on 02/17/23 Page 2 of 2




in his notice of removal that purportedly contains copies of all papers filed with the state court.3
Debtor did not seek leave of this Court for this unorthodox method of attaching all state court
papers to his notice of removal and it does not conform with BLR 9027-1(b). Documents filed
with the state court must be attached as individual exhibits to the notice of removal filed on this
Court’s docket. Accordingly, it is

ORDERED: that

      1. Jody Sean McIntyre’s “notice of removal”4 is STRUCK.



            SIGNED February 17, 2023



                                                        ________________________________
                                                                Eduardo V. Rodriguez
                                                         Chief United States Bankruptcy Judge




3
    ECF No. 1 at 6, ¶ 8; ECF No. 1-1.
4
    ECF No. 1.
